   Case 2:10-md-02179-CJB-DPC Document 2533-2 Filed 05/25/11 Page 1 of 13




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                      §
       “DEEPWATER HORIZON” in the                    §               MDL No. 2179
       GULF OF MEXICO on                             §
       APRIL 20, 2010                                §                SECTION: J
                                                     §
                 This Document Relates to:           §          Judge Carl J. Barbier
                                                     §      Magistrate Judge Sally Shushan
                                                     §
                   No. 2-10-cv-02771                 §
                                                     §
                                                     §
                                                     §

          THIRD-PARTY DEFENDANT M-I L.L.C.’S ANSWER TO THE
         COMPLAINT AND PETITION FOR EXONERATION FROM OR
  LIMITATION OF LIABILITY AND FIRST AMENDED CROSS-CLAIM TO THIRD-
         PARTY PLAINTIFFS’ RULE 14(c) THIRD PARTY COMPLAINT

         M-I L.L.C. (“M-I”) hereby Answers the Complaint and Petition for Exoneration from or

Limitation of Liability (the “Petition”) filed by Triton Asset Leasing GmbH; Transocean

Holdings LLC; Transocean Offshore Deepwater Drilling Inc.; and Transocean Deepwater Inc.

(the “Petitioners”) as follows:

         1.      The allegations contained in Paragraph 1 of the Petition are legal conclusions for

which no response is required. To the extent a response is necessary, the allegations are denied.

         2.      The allegations contained in Paragraph 2 of the Petition are denied for lack of

knowledge or information sufficient to form a belief about the truth of said allegations.

         3.      The allegations contained in Paragraph 3 of the Petition are denied for lack of

knowledge or information sufficient to form a belief about the truth of said allegations.

         4.      The allegations contained in Paragraph 4 of the Petition are denied for lack of

knowledge or information sufficient to form a belief about the truth of said allegations.



                                                 1
DB1/67362003.2
   Case 2:10-md-02179-CJB-DPC Document 2533-2 Filed 05/25/11 Page 2 of 13




         5.      The allegations contained in Paragraph 5 of the Petition are denied for lack of

knowledge or information sufficient to form a belief about the truth of said allegations.

         6.      The allegations contained in Paragraph 6 of the Petition are legal conclusions to

which no response is required. To the extent a response is necessary, the allegations contained in

Paragraph 6 of the Petition are denied for lack of knowledge or information sufficient to form a

belief about the truth of said allegations.

         7.      The allegations contained in Paragraph 7 of the Petition are legal conclusions to

which no response is required. To the extent a response is necessary, the allegations contained in

Paragraph 7 of the Petition are denied for lack of knowledge or information sufficient to form a

belief about the truth of said allegations.

         8.      The allegations contained in Paragraph 8 of the Petition are legal conclusions to

which no response is required. To the extent a response is necessary, the allegations contained in

Paragraph 8 of the Petition are denied for lack of knowledge or information sufficient to form a

belief about the truth of said allegations.

         9.      M-I admits that on or about April 20, 2010, explosions occurred on the MODU

Deepwater Horizon, and that on or about April 22, 2010, the MODU Deepwater Horizon sank.

Any remaining allegations contained in Paragraph 9 of the Petition are denied for lack of

knowledge or information sufficient to form a belief about the truth of said allegations.

         10.     The allegations of Paragraph 10 contain legal conclusions to which no response is

required. To the extent a response is necessary, the allegations contained in Paragraph 10 of the

Petition are denied for lack of knowledge or information sufficient to form a belief about the

truth of said allegations.




                                                 2
DB1/67362003.2
   Case 2:10-md-02179-CJB-DPC Document 2533-2 Filed 05/25/11 Page 3 of 13




         11.     The allegations of Paragraph 11 contain legal conclusions to which no response is

required. To the extent a response is necessary, the allegations contained in Paragraph 11 of the

Petition are denied for lack of knowledge or information sufficient to form a belief about the

truth of said allegations.

         12.     The allegations of Paragraph 12 contain legal conclusions to which no response is

required. To the extent a response is necessary, the allegations contained in Paragraph 12 of the

Petition are denied for lack of knowledge or information sufficient to form a belief about the

truth of said allegations.

         13.     The allegations contained in Paragraph 13 of the Petition are denied for lack of

knowledge or information sufficient to form a belief about the truth of said allegations.

         14.     The allegations contained in Paragraph 14 of the Petition contain legal

conclusions to which no response is required. To the extent a response is necessary, the

allegations contained in Paragraph 14 of the Petition are denied for lack of knowledge or

information sufficient to form a belief about the truth of said allegations.

         15.     The allegations contained in Paragraph 15 of the Petition are denied for lack of

knowledge or information sufficient to form a belief about the truth of said allegations.

         16.     The allegations contained in Paragraph 16 of the Petition are denied for lack of

knowledge or information sufficient to form a belief about the truth of said allegations.

         17.     The allegations contained in Paragraph 17 of the Petition are legal conclusions to

which no response is required. To the extent a response is necessary, the allegations contained in

Paragraph 17 of the Petition are denied for lack of knowledge or information sufficient to form a

belief about the truth of said allegations.




                                                  3
DB1/67362003.2
   Case 2:10-md-02179-CJB-DPC Document 2533-2 Filed 05/25/11 Page 4 of 13




         18.     The allegations contained in Paragraph 18 of the Petition are denied for lack of

knowledge or information sufficient to form a belief about the truth of said allegations.

         19.     The allegations contained in Paragraph 19 of the Petition are denied for lack of

knowledge or information sufficient to form a belief about the truth of said allegations.

         20.     Certain allegations contained in Paragraph 20 of the Petition are characterizations

of the relief requested by Petitioners to which no response is required. To the extent a response

is deemed necessary, the allegations are denied. Any remaining allegations of Paragraph 20 are

legal conclusions to which no response is required. To the extent a response is necessary, the

allegations contained in Paragraph 20 of the Petition are denied for lack of knowledge or

information sufficient to form a belief about the truth of said allegations.

         21.     The allegations contained in Paragraph 21 of the Petition are denied for lack of

knowledge or information sufficient to form a belief about the truth of said allegations.

         22.     The allegations contained in Paragraph 22 of the Petition are denied for lack of

knowledge or information sufficient to form a belief about the truth of said allegations.

         23.     The allegations contained in Paragraph 23 of the Petition are denied for lack of

knowledge or information sufficient to form a belief about the truth of said allegations.

         24.     Certain allegations contained in Paragraph 24 of the Petition are conclusions of

law to which no response is required. To the extent a response is necessary, M-I denies that all of

the Petitioners’ premises are true. Any remaining allegations contained in Paragraph 24 of the

Petition are denied for lack of knowledge or information sufficient to form a belief about the

truth of said allegations.

         The unnumbered PRAYER FOR RELIEF appearing on page 9 of the Petition contains

characterizations of the relief requested by the Petitioners, not allegations of fact, therefore no



                                                  4
DB1/67362003.2
   Case 2:10-md-02179-CJB-DPC Document 2533-2 Filed 05/25/11 Page 5 of 13




response is required. To the extent a response is deemed necessary, the PRAYER FOR RELIEF

and its subparagraphs (A) through (E) are denied.

                                   AFFIRMATIVE DEFENSES

                                         FIRST DEFENSE

         The allegations of the Petition fail to state a claim upon which relief can be granted.

                                        SECOND DEFENSE

         The limitation fund is inadequate, and the Petition should be dismissed because

Petitioners have failed to deposit adequate security for the vessel identified in the Petition for

Exoneration From or Limitation of Liability. Pursuant to Rule F(1) of the Supplemental Rules

for Certain Admiralty and Maritime Claims, the proper limitation fund must be deposited at the

time of filing. Petitioners’ deposit, at the time of filing, did not meet this standard.

                                         THIRD DEFENSE

         The conduct and actions giving rise to M-I’s injuries took place with the privity or

knowledge of the owners, managing owners, owners pro hac vice, and/or operators of the

MODU Deepwater Horizon.

                                        FOURTH DEFENSE

         The events giving rise to the injuries and damage to M-I were not the result of any

negligence, fault, or want of due care on the part of M-I or those for whom M-I may be

responsible.

                                         FIFTH DEFENSE

         M-I reserves the right to contest the appraisal value of the MODU Deepwater Horizon,

including but not limited to, its engines, apparel, appurtenances, and pending freight, and the

adequacy of the security.



                                                   5
DB1/67362003.2
   Case 2:10-md-02179-CJB-DPC Document 2533-2 Filed 05/25/11 Page 6 of 13




                                       SIXTH DEFENSE

         Neither M-I nor its employees, agents, and/or other representatives, or anyone for whom

it was responsible, was in any manner negligent or guilty of any acts or omissions or beach of

duty in connection with the blowout, explosions, fire, and oil spill occurring on or about April

20, 2010 involving the Macondo well site at Mississippi Canyon Block 252 and the MODU

Deepwater Horizon and/or any damages, personal injuries or deaths allegedly sustained by any

other party arising out of the blowout, explosions, fire, and oil spill occurring on or about April

20, 2010 made the basis of these proceedings.

                                     SEVENTH DEFENSE

         At all materials times, a party outside of M-I’s control was responsible for the safe

operation of the MODU Deepwater Horizon. As such, M-I is neither liable nor responsible in

law or in fact for any acts, omissions, breach of duty or unseaworthy condition(s) attributable to

Petitioners, the MODU Deepwater Horizon or their employees, agents or other representatives.

                                      EIGHTH DEFENSE

         The blowout, explosions, fire, and oil spill were caused by the unseaworthy condition(s)

of the MODU Deepwater Horizon and/or unseaworthy conditions, breach of contract or breaches

of duty and breaches of warranty, express or implied, attributable to Petitioners and the

negligence of employees, agents, officers and directors of Petitioners. The aforesaid

unseaworthiness and negligence was within the privity and knowledge of Petitioners and,

accordingly, the Petition should be dismissed as to M-I.




                                                6
DB1/67362003.2
   Case 2:10-md-02179-CJB-DPC Document 2533-2 Filed 05/25/11 Page 7 of 13




                                        NINTH DEFENSE

         The superseding and/or intervening negligence and/or breach of duty of Petitioners and

third parties was the proximate cause of the blowout, explosions, fire and oil spill occurring on or

about April 20, 2010 made the basis of these proceedings.

                                        TENTH DEFENSE

         M-I reserves the right to rely on any and all further defenses that become available or

appear during discovery proceedings in this action and specifically reserves the right to amend

this Answer for purposes of asserting additional defenses.

                                     ELEVENTH DEFENSE

         M-I expressly incorporates herein all allegations, claims, and contentions against

Petitioners and other parties to this action as set forth in full in M-I L.L.C.’s Cross-Claim to

Third-Party Plaintiffs’ Rule 14(c) Third-Party Complaint.

         WHEREFORE, M-I prays that:

         (1) the Petition seeking exoneration from or limitation of liability be dismissed and

dissolved;

         (2) in the alternative, that Petitioners be required to deposit additional security in the

amount required by law, in default of which the Petition should be dismissed; and

         (3) such other and further relief as the Court deems just and proper.




                                                  7
DB1/67362003.2
   Case 2:10-md-02179-CJB-DPC Document 2533-2 Filed 05/25/11 Page 8 of 13




                    FIRST AMENDED CROSS-CLAIM TO THIRD-PARTY
                   PLAINTIFFS’ RULE 14(c) THIRD PARTY COMPLAINT

         Pursuant to Federal Rules of Civil Procedure 13(g) and 14(c), this Court’s Pretrial Order

No. 1, and this Court’s March 24, 2011 Stipulated Order Governing Deadlines In Connection

With Petitioners’ Rule 14(c) Third-Party Complaint, M-I states as follows for its cross-claim

against the Petitioners.

                                             PARTIES

         1.      M-I is a Delaware limited liability company with its principal place of business in

Houston, Texas. M-I has been served with a summons and Master Complaint, Cross-Claim and

Third-Party Complaint for Private Economic Losses in Accordance with PTO No. 11 Section

III(B)(1) (B1 Bundle) and/or a First Amended Master Complaint, and has been served with other

summonses and complaints related to the Deepwater Horizon explosion and the resulting oil

spill. M-I denies any negligence or fault in connection with the explosion or the oil spill. M-I

has statutory and/or common law rights to contribution from the Petitioners, in whole or in part,

for any liability M-I may have as a result of the events alleged in the Rule 14(c) Third-Party

Complaint and/or the First Amended B1 Master Complaint.

         2.      Third-Party Plaintiff Triton Asset Leasing GmbH is a limited liability company

organized under the laws of Switzerland, with its principal place of business in Zug, Switzerland.

This Court has personal jurisdiction over Triton Asset Leasing GmbH because it does business in

Louisiana and because it voluntarily submitted to the jurisdiction of this Court by filing the Rule

14(c) Third-Party Complaint.

         3.      Third-Party Plaintiff Transocean Holdings LLC (“Transocean Holdings”) is a

limited liability company organized under Delaware law, with its principal place of business in

Houston, Texas. This Court has personal jurisdiction over Transocean Holdings because it does


                                                  8
DB1/67362003.2
   Case 2:10-md-02179-CJB-DPC Document 2533-2 Filed 05/25/11 Page 9 of 13




business in Louisiana and because it voluntarily submitted to the jurisdiction of this Court by

filing the Rule 14(c) Third-Party Complaint.

         4.      Third-Party Plaintiff Transocean Offshore Deepwater Drilling Inc. (“Transocean

Offshore”) is a corporation organized under Delaware law, with its principal place of business in

Houston, Texas. This Court has personal jurisdiction over Transocean Offshore because it does

business in Louisiana and because it voluntarily submitted to the jurisdiction of this Court by

filing the Rule 14(c) Third-Party Complaint.

         5.      Cross-Defendant Transocean Deepwater Inc. (“Transocean Deepwater”) is a

Delaware corporation with its principal place of business in Houston, Texas. This Court has

personal jurisdiction over Transocean Deepwater because it does business in Louisiana and

because it voluntarily submitted to the jurisdiction of this Court by filing the Rule 14(c) Third

Party Complaint. Triton Asset Leasing GmbH, Transocean Holdings LLC, Transocean Offshore

Deepwater Drilling Inc., and Transocean Deepwater Inc. are sometimes collectively referred to

as the “Transocean Parties.”

         6.      The Transocean Parties were at all material times the Owners, Managing Owners,

Owners Pro Hac Vice, and/or Operators of the MODU Deepwater Horizon, and/or are

considered “Co-Owners” of the MODU Deepwater Horizon under the Limitation of Liability

Act, 46 U.S.C. § 30501 et seq.

         7.      Each of the Transocean Parties has been served with a summons and Master

Complaint, Cross-Claim and Third-Party Complaint for Private Economic Losses in Accordance

with PTO No. 11 Section III(B)(1) (B1 Bundle) and/or a First Amended Master Complaint, and

has been served with other summonses and complaints related to the MODU Deepwater Horizon

explosion and the resulting oil spill.



                                                9
DB1/67362003.2
  Case 2:10-md-02179-CJB-DPC Document 2533-2 Filed 05/25/11 Page 10 of 13




                                  JURISDICTION AND VENUE

         8.      Jurisdiction over M-I’s cross-claim is proper pursuant to the rules governing

cross-claims against co-parties. This Court also has supplemental and/or ancillary jurisdiction

over this cross-claim because the Court already has jurisdiction over the Transocean Parties’

Rule 14(c) Complaint and the Amended B1 Master Complaint pursuant to 28 U.S.C. § 1333

(admiralty jurisdiction), 43 U.S.C. § 1349(b) (the Outer Continental Shelf Lands Act (OCSLA)),

and 28 U.S.C. § 1331 (because the claims in the Rule 14(c) Complaint and the Master Complaint

arise under OCSLA and the Oil Pollution Act of 1990, 33 U.S.C. § 2701 et seq.).

         9.      This Court also has original jurisdiction over M-I’s cross-claim pursuant to 28

U.S.C. § 1333 (admiralty jurisdiction) and 43 U.S.C. § 1349(b) (OCLSA).

         10.     Venue for this cross-claim is proper pursuant to the rules governing cross-claims

against co-parties and 28 U.S.C. § 1391(b)(2).

                                              FACTS

         11.     In the Amended B1 Master Complaint and in other complaints, Plaintiffs/

Claimants have sought to hold the Transocean Parties, M-I, and the other Third-Party Defendants

tendered by the Transocean Parties in the Rule 14(c) Complaint liable for financial injuries

Plaintiffs/Claimants allegedly suffered as a result of the MODU Deepwater Horizon explosion

and fire and/or the resulting oil spill.

         12.     When the MODU Deepwater Horizon explosion occurred on April 20, 2010, the

Transocean Parties were the owners and/or operators of the rig. In addition to providing the

MODU Deepwater Horizon itself, the Transocean Parties also conducted, participated in,

supervised, and/or oversaw drilling activities, made or participated in critical decisions regarding




                                                 10
DB1/67362003.2
  Case 2:10-md-02179-CJB-DPC Document 2533-2 Filed 05/25/11 Page 11 of 13




same, had personnel and equipment on the MODU Deepwater Horizon, and were otherwise

directly involved in the MODU Deepwater Horizon’s drilling operations at the Macondo well.

         13.     The Transocean Parties breached their duty of reasonable care in conducting,

participating in, supervising, and overseeing drilling operations on the Deepwater Horizon. The

Transocean Parties failed to take reasonable steps to ensure that the drilling operations conducted

on April 20, 2010 were done in a reasonably safe manner, and failed to mitigate the risk of

blowout and oil spill that led to Plaintiffs’/Claimants’ alleged damages. The Transocean Parties’

negligence caused, in whole or in part, the blowout and the subsequent oil spill.

         14.     The Transocean Parties breached their duty to at all times maintain the MODU

Deepwater Horizon in a seaworthy condition.           The unseaworthy condition of the MODU

Deepwater Horizon caused, in whole or in part, the blowout and subsequent oil spill.

                                         COUNT I
       (Cross-claim for Contribution/Indemnification Against The Transocean Parties)

         15.     M-I denies that it is liable for any damages alleged by Plaintiffs/Claimants in the

Amended B1 Master Complaint, for any damages alleged in the Rule 14(c) Third-Party

Complaint, for any damages alleged in applicable Bundle A and Bundle C complaints, and for

any and all other claims for damages against M-I arising out of or associated with the MODU

Deepwater Horizon explosion and fire and/or the resulting oil spill.

         16.     The alleged damages were caused, in whole or in part, by the conduct of the

Transocean Parties, as alleged above. As such, the Transocean Parties are or may be liable for

all or part of the claims asserted against M-I, and M-I is entitled to indemnity from the

Transocean Parties for any and all damages that may be assessed against M-I as a result of the

explosion and oil spill.




                                                 11
DB1/67362003.2
  Case 2:10-md-02179-CJB-DPC Document 2533-2 Filed 05/25/11 Page 12 of 13




         17.     In the alternative, to the extent that M-I is found liable for any part of the alleged

damages, M-I has a right to contribution from other parties found liable, including the

Transocean Parties, to the extent of those parties’ adjudicated proportion of liability.

         WHEREFORE, if M-I is found liable for any portion of damages alleged in the Amended

B1 Master Complaint, the Rule 14(c) Third-Party Complaint, applicable Bundle A complaints,

applicable Bundle C complaints, or any and all other claims against M-I arising out of or

associated with the MODU Deepwater Horizon explosion and fire and/or the resulting oil spill,

M-I is entitled to indemnification from the Transocean Parties, or contribution from the

Transocean Parties to the extent of their proportionate adjudicated shares of liability.

May 25, 2011


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                                                  12
DB1/67362003.2
  Case 2:10-md-02179-CJB-DPC Document 2533-2 Filed 05/25/11 Page 13 of 13




                                CERTIFICATE OF SERVICE

         I hereby certify that the above and foregoing Third-Party Defendant M-I L.L.C.’s Answer

to the Complaint and Petition for Exoneration from or Limitation of Liability and First Amended

Cross-Claim to Third-Party Plaintiffs’ Rule 14(c) Third Party Complaint has been served on All

Counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance with

Pretrial Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of

the United States District Court for the Eastern District of Louisiana by using the CM/ECF

System, which will send a notice of electronic filing in accordance with the procedures

established in MDL 2179, on this 25th day of May, 2011.



                                                           /s/ Hugh E. Tanner
                                                           Hugh E. Tanner




                                               13
DB1/67362003.2
